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Case 2:05-Cv-02181-.]PI\/|-tmp Document 20 Filed 07/05/05 Page 1 of 4 " Page|D 45

J`F*LED BY `-~ ‘ »n.c.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE 05 JUL ....5 PH 3. le
WESTERN DIVISION

 

HDMMMLGG&D_
U.Em u._s. mswoolm
WILLIE MARTIN, individually and wQQFQAHM%B
as Administrator of the Estate
of Kevin Scott, and LINDA
scoTT HARRIS, Individualiy

and as mother of Kevin Scott,
Plaintiffs,
v-

No. 05-2181 Ml/P

coRREcTIoNs coRPoRATIoN oF
AMERICA, et al.,

Defendants.

 

ORDER GRANTING DEFENDANTS’ MDTION TC CONTINUE TRIAL and ORDER
RESETTING TRIAL DATES

 

Before the Court is the Motion to Continue of Defendants
Corrections Corporation of America, Danny Scott and Magnolia
Vaughn, filed June 27, 2005. For good cause Shown, the motion is
GRANTED.

The Court hereby Sets the following trial Schedule in this
case:

Trial: Mondav, Seotember ll, 2006, at 9:30 a.m.
Pretrial Conference: Tuesdav. SeDtember 5, 2006. at 8:45 a.m.

Pretrial Order: Tuesdav, Auqust 29, 2006, bv 4:30 p.m.

This document entered on the docket sheet m compliance 4-
wnn Ru\e 53 and/or re(a) FRcP on 7“@ 'O 5

Case 2:05-Cv-O2181-.]PI\/|-tmp Document 20 Filed 07/05/05 Page 2 of 4 Page|D 46

so oRDERED this _[__Oday cf July, 2005.

0 mw

P. MCCALLA
U ITED STATES DISTRICT JUDGE

   

 

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.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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Honorable .1 on McCalla
US DISTRICT COURT

